THE COURT.
This appeal was placed upon a special calendar of this court upon an order to the respondent to show cause why the judgment herein should not be reversed, or that such order be made as might be meet in the premises. At the time of the placing of said cause upon said calendar, and the entry of said order, it appeared that the appellant's brief had been filed herein, but that no brief on behalf of the respondent had been filed, although the time for the filing of such brief under the rules of this court had long since expired. Upon the calling of such calendar the respondent failed to appear and the said order to show cause was thereupon submitted. Thereafter and on February 23, 1927, the respondent, pursuant to permission theretofore granted, filed herein its brief to be used on this appeal.
It is therefore ordered that the order to show cause heretofore made herein on December 27, 1926, be and the same is hereby discharged. *Page 522 